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          UNITED STATES BANKRUPTCY COURT

                   DISTRICT OF DELAWARE




                                                               Chapter 11
 In re: FTX TRADING LTD., et al.
                                                               Case No. Case No. 22-11068
                        Debtors
                                                               (Jointly Administered)




NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY



A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2) Fed. R. of Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.




                                                           The Canyon Value Realization Master Fund,
 Diameter Master Fund LP                                   L.P.




 Transferor                                                Transferee

 c/o Diameter Capital Partners LP                          c/o Canyon Capital Advisors LLC
 55 Hudson Yards, Suite 29B                                2000 Avenue of the Stars, 11th Floor
 New York, NY 10001                                        Los Angeles, CA 90067
 Attn: Sam Kim and Harsh Kondapalli                        Attn: James Pagnam and Legal
 Tel: 1.212.655.9512                                       Email: jpagnam@canyonpartners.com;
 Email: skim@diametercap.com;                              legal@canyonpartners.com
 hkondapalli@diameter.com
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Claim(s)       Debtor       Case No.   Claim Identifier(s)           Claim Amount


               FTX Trading 22-11068 Customer Code: n/a               6.42% of the unsecured
               Ltd.                                                  portion of the Claim
                                    Kroll Schedule No.:
                                    5258247

                                       Claim No.: 4181

                                       Confirmation No.: 3265-69-
                                       LTOVO-542560921
Docusign Envelope ID: 5BE6916D-C72F-4ED4-B83D-3565345D1D54
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            I declare under penalty of perjury that the information provided in this notice is true and correct to the best
            of my knowledge and belief.




                                               By                                              Date:
                                                                                                       July 11, 2024

                                                     Transferee / Transferee’s Agent




            Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18
            U.S.C. §§ 152 & 3571.




              DEADLINE TO OBJECT TO TRANSFER




            The alleged transferor of the claim is hereby notified that objections must be filed with the court within
            twenty-one (21) days of the mailing of this notice. If no objection is timely received by the court, the
            transferee will be substituted as the original claimant without further order of the court.




                                            Date:


                                                                                         Clerk of the Court
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                                               EVIDENCE OF PARTIAL TRANSFER OF CLAIM


            TO:               U.S. Bankruptcy Court for the
                              District of Delaware (“Bankruptcy Court”)

            AND:              FTX Trading Ltd. (“Debtor”)
                              Case No. 22-11068 (JTD) (“Case”)

            Proof of Claim No. 4181 (the “Proof of Claim”)
            Schedule No. 5258247 (the “Schedule”)
            Claim Confirmation ID: 3265-69-LTOVO-542560921 (“CCID”)
            Unique Customer Code: n/a (“Customer Code”)

            Diameter Master Fund LP (“Seller”), for good and valuable consideration the receipt and sufficiency of which is hereby
            acknowledged, does hereby unconditionally and irrevocably sell, transfer and assign unto:

                                              The Canyon Value Realization Master Fund, L.P.
                                                      c/o Canyon Capital Advisors LLC
                                                      2000 Avenue of the Stars, 11 FL
                                                           Los Angeles, CA 90067
                                      Email: Jpagnam@canyonpartners.com; Legal@canyonpartners.com

            its successors and assigns ("Buyer"), an undivided 6.42% interest in Seller’s rights, title and interest in and to (a) the
            Proof of Claim and the CCCID (collectively “the Claim”) against the Debtor in the Case; (b) the Seller’s claim as
            evidenced by the Claim; (c) all amounts listed on the Schedule; and (d) all amounts with respect to the Customer
            Code (such 6.42% interest in (a)-(d), collectively, the “Assigned Claim”). THE ASSIGNED CLAIM IS 6.42% OF THE
            PROOF OF CLAIM, THE SCHEDULE, THE CCCID AND ALL AMOUNTS UNDER THE CUSTOMER CODE.

            Seller hereby waives: (a) any objection to the transfer of the Assigned Claim to Buyer on the books and records of
            Debtor and the Bankruptcy Court; and (b) any notice or right to a hearing as may be imposed by Federal Rule of
            Bankruptcy Procedure 3001, the United States Bankruptcy Code, applicable local bankruptcy rules or applicable law.
            Seller acknowledges, understands, agrees, and hereby stipulates that an order of the Bankruptcy Court may be entered
            without further notice to Seller transferring the Assigned Claim to Buyer and recognizing Buyer as the sole owner and
            holder of the Assigned Claim.

            You are hereby directed to make all future payments and distributions free and clear of all setoffs and deductions, and
            to give all notices and other communications in respect of the Assigned Claim to Buyer.

            IN WITNESS WHEREOF, each of the undersigned have duly executed this Partial Evidence of Transfer of Claim by
            their duly authorized representative dated July 9, 2024.


            Diameter Master Fund LP
            By: Diameter Capital Partners LP, solely as its
            investment manager

            By:__________________________

            Name: Shailini Rao
            Title: Co-Chief Operating Officer & General Counsel


            The Canyon Value Realization Master Fund, L.P.

            By: Canyon Capital Advisors LLC, as Investment Advisor

            By: _____________________
            Name: James Pagnam
            Title: Authorized Signatory




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